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                              Exhibit 7:
                Dr. Kristen Zgoba Expert Report
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                           Does III v. Whitmer


                           Expert Report of
                       Kristen M. Zgoba, Ph.D.
                          Assistant Professor
                Florida International University (FIU)
                           Miami, FL 33199
                           kzgoba@fiu.edu


                       Dated: December 13, 2021




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I, Kristen M. Zgoba, Ph.D., certify that:

   Education and Experience

   1. I received my Ph.D. in criminology from Rutgers University, the State
University of New Jersey, and I am an Assistant Professor at Florida International
University (FIU) in Miami, Florida. I teach courses on sexual offending, corrections,
research methods, and statistics. Prior to coming to FIU, I was the Supervisor of
Research at the New Jersey Department of Corrections from 2004 until 2018.
Throughout the course of my career, I have studied correctional populations, policy
evaluation, violence, and recidivism; however, my main focus has been on sexual
offending behavior and legislation. I am the author of over 55 peer-reviewed publi-
cations, with the vast majority relating to sexual offending. I have qualified to testify
as an expert in approximately ten proceedings involving sexual offenders. Addi-
tionally, I have been awarded two federal grants from the Department of Justice to
study the efficacy of Megan’s Law and the Adam Walsh Act (AWA). Over the last
15 years, I have been invited to present on the topic of sexual offending on
approximately twenty occasions and have testified to the United States Sentencing
Commission on failure to register (FTR) as a sex offender. My full curriculum vitae,
which includes a list of all of my publications authored in the last ten years and a list
of all cases where I have testified as an expert in the last four years, is attached.

   Executive Summary

      • Costs of Registries: The costs to a state of implementing the federal Sex
        Offender Registration and Notification Act (SORNA) far outweigh the
        federal fiscal penalties for states that choose not to implement SORNA.
        From 2006 to 2021, only 18 states have implemented SORNA. A Justice
        Policy Institute (JPI) analysis found that in all 50 states, the first-year
        costs of implementing SORNA would far outweigh the cost of losing 10
        percent of the state’s Byrne Grant funds (which provides federal money
        for prosecutors and law enforcement).

      • Failing to Register or to Comply: Failing to register, or other non-
        compliance with SORN laws by registrants, does not correlate with
        subsequent sexual reoffending. The rate of failures to register addresses
        and similar location-related non-compliance is very low (about 3%), and
        research demonstrates that most such failures do not involve intentional
        failures or absconding to avoid detection by law enforcement.



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      • Consequences of Registries: Many registered sex offenders (RSOs)
        experience unemployment, housing disruption, harassment, social
        alienation, and depression as a consequence of public Sex Offender
        Registry and Notification (SORN) laws like Michigan’s. Research has
        demonstrated a correlation between these negative consequences and
        recidivism (both sexual and non-sexual), suggesting that public sex
        offender registration may be counterproductive and could potentially
        increase rather than decrease sexual offending.

      • Tiering Based on Conviction: Risk assessment-based registries are
        more effective in identifying individuals who present a risk to the public
        than conviction-based registries (like Michigan’s). Michigan’s SORNA-
        based use of “tiers” does not accurately describe or predict risk. (Without
        periodic reassessment, neither method is effective at showing current risk
        – that is, risk after having lived offense-free in the community.)

      • Variations in Registries: The United States is one of the only countries
        that publicizes sexual offender registry information. The great majority of
        other countries limit access or use of such information to law enforcement.
        Within the United States, states use a wide variety of methods to decide
        who will be on the registry, for how long, what their reporting require-
        ments will be, and whether or not their information will be available to the
        public online.

   Introduction

    2. All information in this report is based upon publications and online research
that are used by academicians and clinicians, my personal knowledge of the founda-
tional work in the fields covered, or knowledge derived from my professional rela-
tionships, my own research, and the organizations with which I have worked or been
affiliated. The conclusions and opinions are solely mine. Throughout this report, I
provide key findings and conclusions from researchers and empirical scientists,
myself included, regarding (1) the cost of SORN laws, (2) the lack of relationship
between failure to register (FTR) (and other non-compliance with SORN laws) and
recidivism, (3) the impact of SORN laws on registrants, (4) the lack of relationship
between tier designations and recidivism, and (5) the variations of sexual offense
legislation in the United States and abroad.

    3. Michigan’s registry is the fourth largest in the nation, with about 46,000 regis-
tered offenders. Because Michigan’s registry law is modeled on the federal SORNA,


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Michigan places registrants into three “tiers” based solely on their offense of convic-
tion, makes the registry accessible online to the public for most registrants, requires
reporting of vast amounts of information, and keeps most people on the registry for
25 years or for life, regardless of their current risk of reoffending.

      I. Costs Associated with Registration and Notification Laws

    4. Over the last 25 years, sex offender policies have increased in size and scope.
One of the most popular sex offender policies is registration and notification. All
states currently have some form of registry, but only 18 states have adopted the 2006
federal SORNA-based system because of the logistical and financial challenges it
poses. SORNA is viewed by many states as an unfunded federal mandate because it
imposes extensive obligations without providing corresponding resources. (States
that do not implement SORNA lose ten percent of their federal Byrne Grant funding,
a separate grant program that provides support for prosecutors and law enforcement.)
The research that exists indicates that states and localities can expect to incur
significant costs if they attempt to implement SORNA, which is one of the reasons
for rejecting SORNA supplied by the many states that have not implemented it since
2006.

       The Cost of Megan’s Law

    5. Most financial analysis has addressed the costs of implementing SORNA. But
a brief analysis examined the costs associated with the earlier (1996) federal
Megan’s Law (which many states still rely upon in some form). A 2008 report in
New Jersey (shortly after that state passed a Megan’s Law-based SORA) was the
first and only study to examine the costs. (Zgoba, Witt, Dalessandro & Veysey,
2008.) This effort proved challenging, as delineating costs associated with commun-
ity registration and notification was difficult to disentangle from other state and
county spending. Tabulations were conducted on startup costs and ongoing yearly
implementation costs. Startup costs included those initial costs to establish each
county’s Megan’s Law Unit, because the law was largely administered by the coun-
ties.

    6. Three variables were included under startup costs: establishment of the inter-
net sex offender registry, equipment costs, and other/miscellaneous costs (e.g.,
computer software). Ongoing costs consisted of expenses such as staff salaries,
internet registry and equipment maintenance and supplies, and other miscellaneous
expenses (e.g., mailings, printings, software updates, etc.). Examples of functions
performed by Megan’s Law Unit personnel include risk or tier classification, door-


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to-door and community notifications, trainings (e.g., law enforcement, day care
center employees), internet registry maintenance, and enforcement (e.g., prose-
cution/litigation). The study did not attempt to measure other costs associated with
SORN laws, such as lost employment by registrants due to registration, or the cost
of returns to prison for non-compliance (e.g., for SORA violators on parole).

   7. The start-up implementation cost of Megan’s Law totaled close to $600,000.
The cost for the full calendar year 2006 was estimated to be $1,557,978. The county
costs for the full calendar year 2007 totaled $3,973,932. This change represents a
155% increase in ongoing expenses from calendar year 2006 to calendar year 2007.
These increases were obtained from raw figures provided by the Megan’s Law Units
and were not broken out for specific costs. (Zgoba, et al., 2008.) While there have
been no cost analyses of the New Jersey law since the 2008 study, it is expected that
costs have grown exponentially as the size and scope of the law has grown.

      The Costs of SORNA

   8. The Justice Policy Institute released a report (2008) 1 documenting each state’s
projected costs for implementing and maintaining SORNA. At least seven states
explicitly expressed apprehension over the fiscal difficulties of implementation. The
hesitation to implement SORNA was striking as states do not want the reputation of
being either “soft on crime” or out of step with other states. In attempting to imple-
ment SORNA, states incur significant costs in various areas, including but not
limited to additional personnel; new software installation and maintenance; addi-
tional jail and prison space; increased court and administrative needs; law enforce-
ment, including the need to verify information at more frequent intervals; and
legislative costs associated with crafting and adopting new state laws. In addition,
there are numerous costs that are even harder to measure, like costs related to loss
of employment or housing by people subject to registration, and the costs of
prosecution and sending people back to jails and prisons.

   9. As noted in JPI’s report (2008), in every state, the first-year costs of SORNA
implementation outweighed the cost of losing ten percent of the state’s Byrne Grant
funding. (See Appendix A.) In California, the Sex Offender Management Board
recommended that the state legislature, governor, and citizens elect not to adopt a
SORNA-based registry, emphasizing the “substantial” and “un-reimbursed” costs
associated with the law. (Wang, 2015.) A study by the Texas Senate Criminal Justice

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  https://justicepolicy.org/research/registering-harm-how-sex-offense-registries-
fail-youth-communities/


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Committee also found that losing ten percent of federal justice funding was an
inadequate incentive to comply with SORNA, estimating that “it would cost $38.7
million to comply, but the state would lose only about $1.4 million in Byrne funds
if it refused.” Additionally, the SORNA program itself is underfunded, and Congress
has failed to allocate consistent funding to underwrite the significant implementation
costs incurred by state and local governments. Some state leaders called SORNA an
“unfunded federal mandate” because of the “disturbing disconnect” between the
federal government’s withholding funds to states that failed to comply while not
providing any funds to help meet the expensive new federal requirements for states
that wished to adopt a SORNA-based registry.

  10. While there is no published study that assesses the true cost of Michigan’s
registry, it has several features that suggest that its costs are very high. First, the
registry is very large, with approximately 46,000 registrants who live in the state,
most of whom are required to report in person at least four times a year and are
subject to registration for life. Moreover, registrants have to report to law enforce-
ment all sorts of information, such as changes to addresses, employment, schooling,
vehicle information, email addresses, internet identifiers, and telephone numbers.
The size of the registry, length of registration terms, and frequency of reporting
imposes significant costs on law enforcement agencies responsible for SORA.

   11. In summary, over time, in light of the now well-established ineffectiveness of
SORN laws to reduce sexual offending, most states have decided against modifying
their existing systems (often a version of Megan’s Law) to SORNA and are instead
taking the ten percent deduction in federal Byrne Grant funding. The costs for
Megan’s Law, but especially the significantly larger costs for SORNA-based state
laws, are hard for state legislatures to justify given the negligible impact of SORN
laws on public safety. In addition, while there is no published research on the costs
of Michigan’s registry, the available data suggest that it imposes very high costs for
little or no public benefit.

      II. Failure to Register and Other Non-Compliance Offenses

  12. Shortly after SORNA was passed in 2007, the U.S. Marshals Service was
designated as the lead federal agency to investigate violations of federal sex offender
registration laws and to assist state, local, tribal, and territorial jurisdictions in
locating and apprehending registrants who failed to comply with their sex offender
registration requirements. The Marshals Service collaborates with those partner
agencies to investigate and aggressively pursue non-compliant offenders.



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   13. The focus on non-compliant offenders reflects an assumption that people who
fail to register are especially dangerous because they are attempting to avoid
scrutiny. Even those tasked with managing sex offender policies share this assump-
tion. As the former director of the SMART Office warned in a USA Today story:
“The people you need to be worried about most are the ones who aren’t registering
at all.” (Koch, 2007, p. 1.) As detailed below, research on this topic shows that
this assumption is false. (Agan & Prescott, 2021; Duwe & Donnay, 2010; Levenson,
Letourneau, Armstrong, & Zgoba, 2010; Levenson et al. 2013; Logan, 2021; Zgoba
& Levenson, 2012.) People who fail to register (or are otherwise non-compliant
with SORN laws) are no more likely to recidivate sexually than people who do
register (and are otherwise compliant).

      Relationship Between Failure to Register/Non-compliance and Recidivism

   14. Empirical data published to date does not support the assumption that FTR
leads to decreased public safety. (Agan & Prescott, 2021; Duwe & Donnay, 2010;
Levenson, Letourneau, Armstrong, & Zgoba, 2010; Levenson et al. 2013; Logan,
2021; Zgoba & Levenson, 2012.) To the contrary, the existing research studies
demonstrate that there are no significant differences between the sexual recidivism
rates of non-compliant registrants versus compliant registrants, and there is no signi-
ficant difference in the proportion of sexual recidivists versus non-recidivists with
registration violations. The bottom line is that non-compliance does not correlate
with higher sexual recidivism rates, or (looking backward) sexual recidivism does
not correlate with higher non-compliance rates, as the studies below show.

   15. In Minnesota, an arrest for FTR did not predict sexual or general recidivism.
Duwe and Donnay (2010). The study also found that FTR offenders were less
educated, less violent, less likely to have assaulted victims of different age groups,
more likely to be a racial minority, less likely to have participated in treatment, and
more likely to have prior felonies and supervision violations. The researchers report-
ed that FTR has become the most common new offense for sex offenders released
from Minnesota prisons. They examined conviction data for 1,561 released sex
offenders who were required to register as predatory offenders in Minnesota. About
11% had been convicted of failing to register. FTR was not predictive of either
sexual or general recidivism, but an FTR conviction significantly increased the risk
of another FTR offense. The authors concluded that registration non-compliance did
not appear to elevate the risk of sexual reoffending. (Duwe & Donnay, 2010.)

  16. In South Carolina, FTR offenders were not more likely to sexually recidivate.
(Levenson et al., 2010.) FTR offenders were also less likely to have a minor victim,


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were younger, had more prior nonsexual arrests, were more likely to be non-white.
This study involved 2,970 registered sex offenders and did not support the hypo-
thesis that sexual offenders who fail to register are more sexually dangerous than
those who abide by registration requirements. (Levenson et al., 2010.) Specifically,
10% of the sample of sex offenders had registry violation convictions across an
average follow-up period of about 6 years. There were no statistically significant
differences in sexual recidivism rates between those who failed to register (11%)
and compliant registrants (9%).The authors concluded that FTR and sexual
offending tap separate constructs, with FTR related to rule-breaking behavior, and
sexual offending driven by sexual deviance.

   17. A similar study in New Jersey analyzed the recidivism outcomes of 1,125
RSOs in two groups. The first group comprised 644 RSOs who were convicted of a
sex crime and at some point failed to register after release from prison. The
comparison group contained 481 RSOs released from prison during a similar
timeframe who did not fail to register after their release. The groups were then
tracked for both sexual and non-sexual offenses to determine whether failure to
register (under Megan’s Law) was predictive of reoffending. Failure to register was
not a significant predictor of sexual recidivism, casting doubt on the belief that
registrants who are non-compliant with registration are especially sexually danger-
ous. (Zgoba & Levenson, 2012.)

   18. A study in Florida was the first to empirically investigate the characteristics
of “absconded” registrants and explore how this group compares to other groups of
registrants. (Levenson et al., 2013.) Using data from the Florida sex offender registry
(N = 23,557), this exploratory study compared the characteristics and risk factors of
absconders with those of compliant and non-compliant (but non-absconding) regis-
trants as well as with those with convictions for failure to register. Absconders, as a
group, were less likely than compliant registrants to be listed as predators, and less
likely than both “compliants” and “noncompliants” to have a minor victim or to be
a repeat sex offender. Absconders were also least likely to have a prior FTR
conviction. The findings fail to support the hypothesis that fugitive registrants are
more sexually dangerous, and suggest a multitude of other explanations for
absconding.

   19. Complying with SORN requirements can be burdensome and difficult, and
inevitably, some registrants will fail to keep their information current, fail to satisfy
technical rules, or otherwise be non-compliant. (Agan & Prescott, 2021; Logan,
2021.) Current research shows that most people who fail to register are not “abscon-
ders” running from the law or committing new sexual crimes. (Bierie & Detar,


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2016.) Indeed, because non-compliance is often unintentional, and because non-
compliance does not correlate with sexual reoffending, aggressive policing of
compliance offenses makes little sense. Many failure-to-register and non-compli-
ance violations can be explained by the burdens of satisfying complex registration
requirements, the scope of what must be reported, and the life circumstances of many
registrants. Registrants move a lot and are more likely to live in poor, socially
disorganized neighborhoods. (Mustaine, Tewksbury & Stengel, 2006; Yeh, 2015.)
These considerations suggest that failing to register may signal many things about
those subject to SORNA laws, but not that they are more likely to sexually recid-
ivate.

      Prevalence of Failure to Register

   20. It is challenging to confirm the number of registrants who fail to register,
given that states have widely disparate methods for classifying or distinguishing
absconders, registration violators, and others whose locations are uncertain. When
analyzing data downloaded from public registries, however, researchers found no
empirical evidence to support claims of large numbers of “missing” registrants. To
the contrary, only about 3% of RSOs were labeled as non-compliant as to their
address (or with whereabouts unknown), and only an additional 2% of RSOs were
found to be transient or homeless without a specific address. (Levenson & Harris,
2012.) (Registries may also list individuals as non-compliant for other reasons, such
as failure to pay a fee, but that does not implicate the concern about “missing” regis-
trants.)

   21. Rates of residency non-compliance varied across the states, with a median rate
of 2.7%. The most inclusive estimates revealed that the addresses of approximately
22,000 to 36,000 RSOs may be unverified, indicating numbers nowhere near those
sometimes sensationalized in the media. (Levenson & Harris, 2012.) Additionally,
it is unlikely that all registrants arrested for FTR are willful violators, as most are
easily located and do not appear to have absconded. (Duwe & Donnay, 2010; Harris
et al., 2012; Levenson et al., 2010; Levenson et al., 2012; Zgoba & Levenson, 2012.)
Some registrants appear to be “missing” due to administrative errors, inadequate or
incomplete address information, data entry anomalies, lag times in updating registry
information, unauthorized travel, or homelessness. (Harris & Pattavina, 2009.) Some
registrants may unintentionally or carelessly disregard their duty to update.




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        III. Impact of SORN Laws on Registrants

   22. Collateral consequences are effects, both intended and unintended, arising
from convictions. Examples of legal collateral consequences include being barred
from certain employment, the loss of the right to possess a firearm, the inability to
participate in political elections, and (as here) being placed on a registry of offenders.
In addition, people with convictions face social collateral consequences, which typi-
cally vary in intensity, frequency, and certainty. These might include relationship
and parenting problems, employment difficulties, harassment, ostracism, and feel-
ings of shame and diminished self-worth.

   23. According to Tewksbury (2007), collateral consequences are not unique to
sex offenders. Because of SORN laws, however, registered sex offenders (RSOs)
are more significantly affected by collateral consequences than other people with
criminal records. The problems of re-entry commonly faced by other criminal offen-
ders are greatly exacerbated for people who have committed sexual offenses when,
as in Michigan, they are placed on a public online registry, and can remain on the
registry for their entire lives.

   24. The stigma of sex offender registration and community notification is well
documented, as are the ways in which SORN laws can impede community re-entry
and adjustment. The research on collateral consequences has been established over
the past twenty years and has demonstrated consistency in its findings. Research
establishes RSOs experience a range of negative consequences, and that these conse-
quences are typically more negative than those experienced by other people with
convictions. Although these collateral consequences are not universal and may vary
in intensity and the degree to which they affect the short- and long-term experiences
of offenders, they nonetheless have serious implications for individual offenders,
their families, communities, and society. This is important because many of the
consequences are also “triggers” or catalysts for recidivism, for example, the lack of
employment and housing, or the instability of either. (Maletzky, 1993; McGrath,
1991.)

  25. Several studies used surveys to document the experiences of RSOs in general.
More than one-half (54.7%) of a general sample of RSOs in Kentucky reported
losing a friend who found out they were on the registry, 47% were harassed in
person, 45.3% lost or were denied a place to live, and 42% lost a job as a result of
registration. Rural RSOs generally experienced more negative consequences than
those living in metropolitan areas. Focusing on the experiences of forty female RSOs



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in Kentucky and Indiana, another study found that “a number of negative exper-
iences stem from sex offender registration.” The most significant collateral conse-
quences identified by women in the sample were the loss of a job (42.1%), the loss
of a friend who learned of their registration (39.5%), in-person harassment (34.2%),
the loss or denial of a place to live (31.6%), and rude treatment in public (31.6%).
(Tewksbury, 2005.)

  26. Levenson and Cotter (2005) examined the collateral consequences of 183
RSOs in Florida. They reported that the majority of the respondents in their study
experienced negative psychological feelings that were directly related to sex offen-
der registration. Using a methodology similar to that of earlier studies, the authors
reported that 35% of their sample was “forced” to move because of their placement
on the Florida sex offender registry. Additionally, 27% said that they had lost their
jobs because of their status as RSOs, and 19% reported some form of harassment.

   27. A similar study conducted in Kentucky provides an in-depth analysis of the
experiences and perceptions of RSOs through the use of qualitative in-person inter-
views. (Tewksbury & Lees, 2006.) They interviewed 22 RSOs listed on the Ken-
tucky sex offender registry and reported several primary types of collateral conse-
quences, including employment difficulties, relationship problems, harassment,
stigmatization, and persistent feelings of vulnerability. As one respondent in the
study explained, “I know [the registry] is there to remind and punish, but it will
always be like a roadblock in the way for those of us who wish to truly rehabilitate
and change their lives.” This research found that these issues were experienced more
intensely by RSOs than has been found among other people with felony convictions.
The study concluded that re-integration into society can be more difficult for RSOs
as a result of registration.

  28. Similarly, Burchfield and Mingus (2008) reported on interviews with 23
RSOs in Illinois. They found that RSOs have less access to local social capital
because of their status as RSOs. More than one-third of their sample reported
voluntary withdrawal from the community and a decrease in social interaction. RSOs
were also found to be generally fearful of community members learning of their
registration and experienced feelings of stigmatization due to their registry listing.
Most respondents (78%) reported that policy requirements for sex offender parolees
“impeded their ability to reintegrate into community life.”

  29. Another study in New Jersey examined how registered sex offenders exper-
ience, respond to, and attribute stress regarding sex offender registration and notifi-
cation policies, particularly a new ban on internet access. Drawing on survey data


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from a random sample of 107 RSOs, responses show significant levels of stress,
significant losses due to restrictions on internet access, and coping methods asso-
ciated with higher and lower stress levels. The most significant loss reported by the
sample related to employment search difficulties. Factors associated with increased
levels of stress include using self-distraction for coping and not accepting the
situation. (Tewksbury & Zgoba, 2010.)

   30. In summary, it is well established that many RSOs experience unemployment,
housing disruption, harassment, and social alienation as a result of SORN laws.
(Levenson & Cotter, 2005; Levenson et al., 2007; Mercado et al., 2008; Mustaine et
al. 2006; Socia, 2021; Tewksbury, 2005; Tewksbury & Lees, 2006; Tewksbury &
Zgoba, 2010; Zevitz & Farkas, 2000.) Some RSOs also report that these negative
consequences have affected other members of their households. Likewise, many
RSOs report depression and hopelessness. (Jeglic, Mercado, & Levenson, 2011.) As
a result, SORN laws may actually undermine public safety by exacerbating factors
that are correlated with criminal recidivism, as shown below.

      IV. Tier Levels Are Not SORNA-Based in Most States

   31. The United States Marshals Service recently provided information showing
that about 925,000 people are required to register in the United States. (Personal
communication with David Bierie, senior statistician and researcher responsible for
registry counts, in September 2021.) In the 18 states that (like Michigan) use
SORNA’s mandatory three-tier offense-based system, about three-quarters of regis-
trants fall into Tier 2 or 3, which carry registration periods of 25 years and life,
respectively. (Harris, Lobanov-Rostovsky, & Levenson, 2010; Zgoba, Miner, Lev-
enson, Knight, Letourneau & Thornton, 2016.)

   32. The large majority of states that have not implemented SORNA use various
methods to categorize people convicted of sexual offenses for purposes of regis-
tration and notification requirements. (Zgoba et al., 2016.) Some of those states still
classify sex offenders into categories based (at least in part) on their conviction,
while other states use actuarial-based risk assessments (or a combination of meth-
ods). States also vary in determining whether a person with a particular conviction
is in a lower or higher tier. For example, a person classified as a level/tier I registrant
with no public notification requirement in one state might be classified as tier II or
tier III registrant subject to public notification in another state. (Harris & Lobanov-
Rostovsky, 2010.)




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   33. Harris, et al., 2010, identified the sources of variation among the state classi-
fication schemes: how classes of registrants are distinguished from one another, as
well as the criteria used in the classification process and in making the classification
decisions.

  34. One point of divergence is how states distinguish their registrants. At one end
are the states operating single-tier systems that treat registrants equally with respect
to reporting, registration duration, notification, and related factors. Alternatively,
some states use multi-tier systems, usually with two or three categories that are
supposed to reflect presumed public safety risk and, in turn, required levels of
scrutiny from law enforcement and the public. (Harris, et al., 2010.) Approximately
14% of states operate single tier systems that subject all registered sex offenders to
similar requirements, 18% operate modified single tier systems with a special
category for offenders identified as “sexual predators,” and 68% set forth separate
requirements for two or more categories of sex offenders. (Harris, Levenson &
Ackerman, 2014.)

  35. A second dimension is the criteria employed in the classification decision.
States running offense-based systems use the conviction offense or the number of
prior offenses as the criteria for tier assignment. Other jurisdictions use various risk
assessments that consider factors that scientific research has linked to sexual risk,
such as age, number of prior sex offenses, victim gender, and relationship to the
victim. Finally, some states use a hybrid of offense-based and risk-assessment-based
systems for classification. Approximately 70% of states consider the conviction
offense; 45% of states consider the number of convictions; and 32% use a form of
empirically-based risk assessment to determine a person’s classification. (The
numbers add up to more than 100% because of the overlap among the methods.)

   36. Research has shown that offense-based classification systems fail to accur-
ately identify individuals who are high risk, and that risk-assessment-based systems,
which employ actuarial-based risk assessment instruments to classify registrants, are
much more accurate.

   37. For example, a recent study compared the federal SORNA classification tiers
with actuarial risk assessment instruments and existing state classification schemes
in their respective abilities to identify registrants as high risk to reoffend. (Zgoba, et
al., 2016.) Data from 1,789 adult registrants released from prison in four states were
collected (Minnesota, New Jersey, Florida, and South Carolina). SORNA Tier 2
registrants had higher Static-99R scores and higher recidivism rates than Tier 3
offenders. Actuarial measures and non-SORNA-based state tier systems, in contrast,


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did a better job of identifying high-risk offenders and recidivists. As well, the study
examined the distribution of risk assessment scores within and across tier categories,
finding that a majority of registrants are classified as SORNA Tier 3, but more than
half score low or moderately low on the Static-99R. The results indicate that the
SORNA sex offender classification scheme is a poor indicator of relative risk and is
likely to result in a system that is less effective in protecting the public than those
currently implemented in states with risk-assessment based approaches. (SORNA-
based systems also mislead the public into believing that people assigned to Tier III
are more dangerous when we know they are not.)

   38. In sum, tiering of registered offenders varies by state, and many states do a
better job than Michigan by using evidence-based methods for predicting risk.
According to recent research, actuarial measures and existing non-SORNA-based
state tier systems did a better job of identifying high-risk offenders and recidivists
than SORNA’s exclusively offense-based classifications – which do not correlate
with risk of sexual reoffending.

  V. Variations in SORN Laws in the United States and Abroad

      SORN Laws Not Based on SORNA in the United States

   39. As noted above, sex offender registry requirements vary by state in the U.S.
While there are some common characteristics, there is also great variation in who
has to register, whether there are individual assessments in determining registration
requirements, how long registration periods last, what information is collected from
registrants, and whether (or which) registrants’ information is shared with the public.
Because only 18 states have adopted SORNA since it was passed in 2006, the federal
goal of creating “standardized” registration laws has not been realized. Though many
states retain a version of the original Megan’s Law (1996), the contours of those
laws are widely variable, as shown below.

   40. Common among registration schemes is that people convicted of sex offenses
are required to register with their local law enforcement or corrections agency. This
information is forwarded to a central location, such as the state police or state bureau
of investigation. Information required for the registry typically includes name,
address, date of birth, social security information, physical description, fingerprints,
and photographs.

  41. Additionally, every state has a public sex offender registry, but states vary
greatly in how they notify the public, who goes on the public registry, and what


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information is released. Some states require interested citizens to access registry
information at their local law enforcement agencies. For example, New Jersey with-
holds the majority of incest offenders from online placement, and in South Dakota,
only a few communities have placed specific offender information online; in most
communities, interested citizens must request the information from authorities. In
Iowa, in contrast, anyone can access information online about any person on its sex
offender registry. Searches can be conducted by name, geographic location, or
gender of the offender or victim. Iowa provides photos, physical descriptions,
addresses, and details of convictions. This is also true in Florida, which maintains
broad community notification and designated registrants as either ‘sex offenders’ or
‘predators’ online.

   42. As can be seen from the above, Megan’s Law did not mandate standardization
of implementation, and states took the liberty to adopt individualized provisions for
notifying the public about registrants who were deemed to carry the most risk. As
this occurred, the notification stipulations evolved in a variety of ways, for instance,
producing different procedures for the tiering of sex offenders or implementing
broad notification procedures without a distinction between high and low risk.
(Levenson, D’Amora & Hern, 2007; Lobanov-Rostovsy, 2015; Vasquez, Maddan &
Walker, 2008; Zgoba, et al., 2016; Zgoba et al., 2018.)

   43. In sum, some states tailor registration and notification requirements through
evidence-based risk classification. Other states, like Michigan and the other 17 states
that have adopted SORNA-type laws, apply the same registration requirements to
all or most registrants regardless of their classification, and allow public access to
all or most online information, with no evidence-based determination of risk, let
alone current risk.

      Sexual Offense Legislation Abroad

   44. Outside the United States, public sex offender registries are very uncommon.
Many countries, including the United Kingdom Canada, Spain and the European
Union, do require persons who have been convicted of a sexual offense to register
with law enforcement or other official authority. Like the United States, these
jurisdictions have faced pressure to make sex offense registry information readily
available to the general public, but unlike the United States, they have generally
declined to do so. Typically, their registry information is available only to law
enforcement, or they permit somewhat wider disclosure, but only in limited circum-
stances. One fundamental reason is that other nations generally treat criminal-history
information as confidential, in order to protect the privacy of those who have been


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convicted of crime and to aid their rehabilitation. (Jacobs & Blitsa, 2012; Jacobs &
Larruri, 2012.)

   45. A global survey conducted by the U.S. Department of Justice (2016) 2 found
that while many other nations maintain sex-offense registries, in most cases they are
either not available to the public at all or are available only upon inquiry by certain
people or organizations under particular conditions. Virtually no foreign countries
listed in the survey permit the prevalent U.S. practice of proactive notification of
sex-offense registry information to unlimited community organizations and the
general public. More recently, at least two Latin American nations have enacted sex-
offense registry laws, but they too reject the U.S. practice of proactive community
notification; access to sex-offense registry information is largely restricted to law
enforcement, with limited exceptions.

   a. United Kingdom. The restrictions imposed on persons who have been
convicted of a sexual offense are far more limited in the UK than in the United States,
largely because of concern that widespread dissemination of criminal history and
burdensome limitations can undermine the rehabilitation of ex-offenders. (Zgoba &
Cowan, 2020.) Upon release from custody, persons convicted of a sexual offense
must report to local police, provide certain personal details (for example, birthday,
national insurance number, names used, and where they are living or planning to
travel), and keep these details current for as long as they remain on the registry.
Registrants must also provide notice when they travel abroad or stay in a house with
children, and must provide a DNA sample, fingerprints, and a current photograph.
The Violent and Sex Offenders Register (ViSOR) allows law enforcement to access
information in the registry and to track registrants within their jurisdiction. Unlike
the United States, the UK does not permit unlimited public access to registrant
information. Instead, the UK allows for “controlled disclosure” of information about
certain registrants, but only if they have been convicted of a sex offense against a
child. Under that regime, known as Sarah’s Law, members of the public may inquire
whether a specific individual poses an ongoing risk to their child. Before disclosure
is made, the application by the parent or guardian is subject to a rigorous series of
reviews. (Cowan, Zgoba, Guerette & Levenson, 2020.)

    b. Canada. The sex-offense registration system in Canada is similar to that in
the UK. Registry information is available to law enforcement for the purpose of
investigating and preventing sexual offenses but generally is not available to the
public. Following a high-profile abduction and murder, the province of Ontario

2
    USDOJ- https://smart.gov/pdfs/global-survey-2016-final.pdf


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created a sex-offense registry (OSOR) in 2001. When other provinces prepared to
follow suit, in 2004 Canada adopted a National Sex Offender Registry (NSOR),
administered by the Royal Canadian Mounted Police. Whereas registration in
Ontario (under the OSOR) is required automatically upon conviction, the original
2004 legislation placed offenders on the national registry (NSOR) only by court
order at the prosecutor’s request, which the judge could reject if it was found not to
be in the public interest. National sex-offense registry information in Canada is
available only to the police, but individual provinces have established separate
community-notification schemes to notify the public about high-risk registrants. In
2015, the Tougher Penalties for Child Predators Act and the High-Risk Child Sex
Offender Database Act created a national database centralizing information about
high-risk registrants (as determined by risk-assessment instruments and clinical
judgment), but it includes only information that the police or other authorities have
previously disclosed publicly. (Murphy, Fedoroff & Martineau, 2012; Murphy &
Federoff, 2013.)

    c. Australia and New Zealand. Beginning with New South Wales in 2001, each
Australian state and territory has created a sex-offense registry linked to an
Australian National Child Offender Register (ANCOR). In 2012, Western Australia
became the only Australian state to allow public access. Its three-tier system (1)
publicizes missing registrants who have not complied with reporting obligations, (2)
allows members of the public to search for high-risk individuals in their local area,
and (3) allows members of the public to inquire whether a particular person in
contact with their child is a registrant, a system similar to the system in the UK. In
2016, New Zealand created a sex-offense registry that is not publicly available.
(Taylor, 2017; see New Zealand Police, CSO Register: Information for People on
the Register (Oct. 2016.)

  46. In sum, sex offender registry and notification requirements vary by state in
the U.S. Moreover, the U.S. is an outlier when it comes to notifying the public about
the criminal histories and addresses of sexual offenders, as the majority of other
countries that have implemented sex offense legislation maintain the information for
law enforcement exclusively.

Statement on Compensation

I have charged a rate of $275/hour for writing this report.

Pursuant to 28 U.S.C. § 1746, I state under penalty of perjury that the above



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statements are true and correct to the best of my knowledge, information, and
belief.

Date: December     , 2021
                                             Kristen Zgoba, Ph.D.
                                             Florida International University
                                             Miami, FL 33199




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 Appendix A: Source: Justice Policy Institute, “Registering Harm”
 In each of the states, just the 1st year implementation costs far outweighs
 the Byrne money




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                       Attachment 1:
               C.V. of Kristen M. Zgoba, Ph.D.
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                            CURRICULUM VITAE
                                     OF
                             KRISTEN M. ZGOBA
               DEPARTMENT OF CRIMINOLOGY & CRIMINAL JUSTICE
                           Updated January 17, 2022


   EDUCATION

   Degree                Institution                  Field                         Dates
   Ph.D.                 Rutgers University, NJ       Criminal Justice              00-04

   Dissertation Title- Variations in the Recidivism of Treated and Non-Treated Sexual
   Offenders in New Jersey: An Examination of Three Time Frames

   M.A.                  Rutgers University, NJ       Criminal Justice              99-00

   B.A.                  Rutgers University, NJ       Psychology                    95-99

   FULL-TIME ACADEMIC EXPERIENCE

   Institution                         Rank                  Field                  Dates
   Florida International University    Assistant Professor   Criminal Justice       19-present
   University of Central Florida       Assistant Professor   Criminal Justice       18-2019

   PART-TIME ACADEMIC EXPERIENCE

   Institution                       Rank                    Field                  Dates
   Rutgers University-Newark         Adjunct                 Criminal Justice       16-2018
   Michigan State University         Adjunct                 Criminal Justice       13-2019
   Rutgers University- New Brunswick Adjunct                 Criminal Justice       01-2018

   NON-ACADEMIC EXPERIENCE

   Place of Employment                         Title                                Dates
   New Jersey Department of Corrections        Supervisor of Research               04-2018

   EMPLOYMENT RECORD AT FIU

   Rank                                                                             Dates
   Assistant Professor                                                              19-present

   PUBLICATIONS IN DISCIPLINE

   Books
   NA



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   *Denotes Graduate Student Co-Author

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   Theft in Newark, New Jersey.” Criminal Justice Policy Review, 13(3), pp. 257-285.

   Proceedings

   Zgoba, K. Failure to Register as a Sex Offender. Testimony to the United States Sentencing
   Commission on March 13, 2014: Washington DC.

   Chapters in Books

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   Zgoba, K. (2016). “The National Institute of Justice”. In The Encyclopedia of Crime and
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   Zgoba, K. & Dayal, N. (2016). “Recidivism”. In The Encyclopedia of Crime and
   Punishment. Edited by Wesley Jennings. Wiley-Blackwell Publishing: Hoboken, New
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   Zgoba, K. and Ragbir, D. (2016). “Sex Offender Registration and Notification Act
   (SORNA): Sexual Violence”. In Evidence Based Policy and Prevention. Edited by Cynthia
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   Levenson, J. S. & Zgoba, K. (2014). “Sex Offender Residence Restrictions: The Law of
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   Haugebrook, S. & Zgoba, K. (2007). “Prison Group Counseling”. In Correctional Group
   Counseling and Treatment. Edited by Albert Roberts. Prentice Hall: Upper Saddle River,
   NJ.

   Simon, L. & Zgoba, K. (2006). “Prevention of Sex Crimes against Children: Legislation,
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   Zgoba, K. (2004). “Megan’s Law and its Effect on Incarcerated and Released Sex
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   Government Reports or Monographs

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   Recidivism Trends over 20 Years”. Final Report for Florida Department of Law
   Enforcement; Tallahassee, Florida.

   Zgoba, K., Miner, M., Letourneau, E., Levenson, J., Knight, R., Thornton, D. (December
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   Department of Justice; Washington, DC.

   Zgoba, K. & Bachar, K. (April 2009). “Sex Offender Registration and Notification: Limited
   Effects in New Jersey.” In Short: Toward Criminal Justice Solutions, NCJ 225402. National
   Institute of Justice, U.S. Department of Justice; Washington, DC.

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   Zgoba, K. (2002). “Bullying and DARE Projects in Linwood Middle School, North
   Brunswick, New Jersey.” Final Report for C.O.P.S. Department; Washington, D.C.




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   Book Reviews

   Zgoba, K. (2006). Ending Intimate Abuse: Practical Guidance and Survival Strategies.
   Oxford University Press: New York, New York.

   Zgoba, K. (2004). Crime Control and Women, Feminist Implications of Criminal Justice
   Policy, edited by Susan L. Miller (Thousand Oaks, CA: Sage Publications, 1998), In the
   Journal of Psychiatry and Law, Federal Legal Publications.

   OTHER PUBLICATIONS

   Zgoba, K., Miner, M., Knight, R., Letourneau, E., Levenson, J. & Thornton, D. (May/June
   2013). “Findings from a Recent Multi-State Evaluation of Sex Offender Risk & Recidivism
   Using the Adam Walsh Act Tiers”. Corrections Today, American Correctional Association,
   pp. 92-95.

   Zgoba, K. (2008). “Evaluating the Impact of Megan’s Law”. Justice, Research & Policy
   Digest, 1-2.

   PRESENTED PAPERS, LECTURES, EXHIBITIONS, AND PERFORMANCES

   November 13-16, 2019 San Francisco, CA- American Society of Criminology
   • Who’s in Administrative Segregation: The Effect of Inmate Type on Post-Release
      Behavioral Outcomes
   • An Exploratory Analysis of Female Placement in Restrictive Housing

   November 13-17, 2018 Atlanta, GA- American Society of Criminology
   • Administrative Segregation and Offender Recidivism: Does Placement in Administration
      Segregation Affect Inmate Post-Release Offending Behavior?
   • An Exploration of the Reality of Violent Offending in a Sample of Inmates

   November 15- 18, 2017 Philadelphia, PA- American Society of Criminology
   • A Longitudinal Analysis of the Criminal Career Patterns of Juvenile and Adult Sex
      Offenders
   • A Comparative Analysis of Journey to Crime Patterns among Acquaintance and Non-
      Acquaintance Sex Offenders

   November 15-19, 2016 New Orleans, LA- American Society of Criminology
   • A Life Course Analysis of the Criminal Behavior of 500 Sexual Offenders: Phase III
   • American and British Policy: A Comparison of Community Sentiment Toward Sex
      Offense Legislation Across the Pond
   • Exploring the Conviction and Sentencing of Homicide Offenders in the Context of the
      Liberation Hypothesis

   April 4, 2016 Newark, NJ- National Science Foundation Meeting at Rutgers University
   • The Chicken or the Egg: What Came First, Research or Policy?



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   May 5, 2015 Belfast, Ireland- Public Protection Arrangements Northern Ireland and
   Probation Board Northern Ireland
   • Building Bridges: Lessons Learned from Multiple National Institute of Justice Grants on
      Sexual Offense Legislation in the United States

   April 22, 2015 Pucklechurch, England- Her Majesty’s Prison Ashfield
   • Building Bridges: Lessons Learned from Multiple National Institute of Justice Grants on
      Sexual Offense Legislation in the United States

   March 24, 2015 Bristol, England- University of the West of England
   • Building Bridges: Lessons Learned from Multiple National Institute of Justice Grants on
     Sexual Offense Legislation in the United States

   November 17-21, 2015 Washington, DC- American Society of Criminology
   • A Forty-Year Life Course Analysis of a Sample of One Thousand Released Sex
      Offenders: Phase II
   • Memorialization Laws in the United Kingdom: A Response to a Moral Panic or an
      Increased Occurrence

   November 18-22, 2014 San Francisco, CA- American Society of Criminology
   • Sex Offender Buffer Zones: Are They Really Protecting Children?
   • A Forty-Year Life Course Analysis of a Sample of One Thousand Released Sex
      Offenders: Phase 1

   May 28- 30, 2014 Cleveland, OH- National Seminar for Federal Defenders
   • Representing a Client in a Sexual Offense Case

   March 19, 2014- Philadelphia, Pennsylvania- University of Pennsylvania
   • Distinguished Lecture Series- “Results from Two National Institute of Justice Grants:
     Federal Sex Offender Laws and their Effect on Recidivism”

   March 13, 2014- Washington DC- United States Sentencing Commission
   • Provided testimony of federal sentences for sexual offenders charged with failure to
     register crimes.

   November 13-16, 2013 Atlanta, GA- American Society of Criminology
   • Supermax & Recidivism: An Examination of the Recidivism Covariates Among a
      Sample of Supermax Ex-Inmates

   January 28-30, 2013 Houston, TX- American Correctional Association
   • Final Results: A Multi-State Recidivism Study Comparing Static-99 Risk Scores with
      Adam Walsh Act Tiers

   April 18, 2013 Newark, NJ- Rutgers University School of Criminal Justice




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   •   Distinguished Lecture Series- “Results from Two National Institute of Justice Grants:
       Federal Sex Offender Laws and their Effect on Recidivism”

   November 14-17, 2012 Chicago, IL- American Society of Criminology
   • Final Results: A Multi-State Recidivism Study Comparing Static-99 Risk Scores with
      Adam Walsh Act Tiers

   October 17-19, 2012 Denver, CO- Association for the Treatment of Sexual Abusers
   • Final Results: A Multi-State Recidivism Study Comparing Static-99 Risk Scores with
      Adam Walsh Act Tiers
   • A Longitudinal Examination of Sex Offender Recidivism Prior to and Following the
      Implementation of SORN

   September 2012 Atlantic Beach, FL- Southern Criminal Justice Association
   • Considering specialization/versatility as an unintended collateral consequence of SORN

   November 15-19, 2011 Washington, DC- American Society of Criminology
   • Preliminary Findings and Discussion of the Adam Walsh Act: A Multi-State Recidivism
      Study Comparing Static-99 Risk Scores with Adam Walsh Act Tiers
   • What Older Prisoners Report About How They Cope with the Prison Experience:
      Implications for Prison Treatment
   • A Longitudinal Examination of Sex Offender Recidivism Prior to and Following the
      Implementation of SORN
   • Trauma Among Younger and Older Prisoners: Does Age Make a Difference?

   November 3-4, 2011 Toronto, Canada- Association for the Treatment of Sexual Abusers
   • Preliminary Findings and Discussion of the Adam Walsh Act: A Multi-State Recidivism
      Study Comparing Static-99 Risk Scores with Adam Walsh Act Tiers
   • A Longitudinal Examination of Sex Offender Recidivism Prior to and Following the
      Implementation of SORN

   July 24-27, 2011 Chicago, IL- American Probation and Parole Association
   • Preliminary Findings and Discussion of the Adam Walsh Act: Title 1 of the Sex Offender
       Registration Notification Act

   June 13- 15, 2011 Washington DC- National Institute of Justice Annual Conference
   • Reducing Risk of Sex Offenses Reconsidered: Changes in Predictors of Recidivism Over
      Time

   November 17-20, 2010 San Francisco, CA, American Society of Criminology
   • Assessing the Interaction of Offender and Victim Lifestyle Characteristics for
      Differentiating Homicide Incidents
   • Adventures in SORN-Land: Using Sex Offender Registry Data to Promote Informed
      Practice




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   •   Who are the People in Your Neighborhood: A Descriptive Analysis of Individuals on Sex
       Offender Registries
   •   Does History Always Repeat Itself? Failure to Register as a Predictor of Sexual
       Recidivism

   October 31-November 1, 2010 Louisville, KY- International Community Corrections
   Association
   • Sex Offender Policies and Legislation

   August 1-3, 2010 Chicago, IL- American Corrections Association Summer Conference
   • Sex Offender Management, Treatment and Civil Commitment: An Evidence-Based
      Analysis Aimed at Reducing Sexual Violence

   June 14- 15, 2010 Washington DC- National Institute of Justice Annual Conference
   • Sex Offenders in the Community: Post-Release, Registration, Notification and Residency
      Restrictions

   March 11-14, 2009 Boston, MA- American Criminal Justice Society
   • Author Meets Critic: Sex Offender Laws: Failed Policies, New Directions by Richard
     Wright

   June 15-17, 2009 Washington DC- National Institute of Justice Annual Conference
   • Establishing the Practical Efficacy and Monetary Value of Megan’s Law: Phase Two

   August 19- 22, 2009 Tenth Crime Mapping Research Conference, sponsored by the Mapping
   and Analysis for Public Safety (MAPS) program of the National Institute of Justice- New
   Orleans, LA
   • Speaker on Mapping Sex Offender Residences in the 21st Century

   November 4- 7, 2009 Philadelphia, PA- American Society of Criminology
   • Reducing Risk of Sex Offenses Reconsidered: Changes in Predictors of Recidivism over
      Time

   November 14- 18, 2008 St. Louis, MI- American Society of Criminology
   • Establishing the Practical Efficacy and Monetary Value of Megan’s Law: Phase Two

   October 22- 24, 2008 Atlanta, GA- Association for the Treatment of Sexual Abusers
   • Establishing the Practical Efficacy and Monetary Value of Megan’s Law: An Empirical
      Analysis

   July 21- 22, 2008 Washington DC- National Institute of Justice Annual Conference
   • Sex Offender Residency Restrictions in New Jersey

   June 19, 2008 Harvard Kennedy School- Ash Center for Democratic Governance and
   Innovation
   • Webinar on “Sex Offender Residency Restrictions: Implementation and Impact”



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   November 12- 17, 2007 Atlanta, GA- American Society of Criminology
   • A Preliminary Step towards Evaluating the Impact of Megan’s Law: A Trend Analysis of
      Sexual Offenses in New Jersey from 1985 to 2005

   October 31-November 3, 2007 San Diego, CA- Association for the Treatment of Sexual
   Abusers
   • A Preliminary Step towards Evaluating the Impact of Megan’s Law: A Trend Analysis of
      Sexual Offenses in New Jersey from 1985 to 2005

   October 2006 Atlantic City, NJ- The New Jersey American Correctional Association
   • New Jersey’s Analysis of the Effect of GED Obtainment on Inmate Recidivism

   October 30- November 4, 2006 Los Angeles, CA- American Society of Criminology
   • New Jersey’s Analysis of the Effect of GED Obtainment on Inmate Recidivism
   • Part II- Domestic Violence Mandatory Arrest Policies and Actual Arrest Rates: A
      Comparative Analysis

   February 2005 Honolulu, HI- Western Society of Criminology
   • Therapeutic Jurisprudence in the Criminal Justice System

   March 2005 Correctional Education Association Leadership Forum, Council of Directors,
   Annapolis, MD
   • New Jersey’s Analysis of the Effect of GED Obtainment on Inmate Recidivism”

   April 2005 Trenton, NJ- Residential Community Release Program- Community Providers
   Conference
   • New Jersey’s Analysis of the Effect of GED Obtainment on Inmate Recidivism”

   April 2005 New Brunswick, NJ- Rutgers University
   • The Structure of New Jersey State Prisons: From Geography to Social Dynamics”

   May 2005 Trenton, NJ- National Advisory Council Meeting
   • The Expansion of New Jersey’s Analysis of the Effect of a GED on Inmate Re-offending

   August 8- 15, 2005 Philadelphia, PA- International Society of Criminology
   • A Retrospective Examination of the Offending Histories and Re-offending Patterns of
      300 Homicide Offenders

   October 2005 New Brunswick, NJ- Rutgers University
   • The Structure of New Jersey State Prisons: From Geography to Social Dynamics
   • The Development of Ethical Research Protocol in State Government

   October 2005 Atlantic City, NJ- The International Community Corrections Association
   • Prison Treatment Programs and the Subsequent Impact on Inmates




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   November 14- 18, 2005 Toronto, Canada- American Society of Criminology
   • A Retrospective Examination of the Offending Histories and Re-offending Patterns of
      300 Homicide Offenders
   • New Jersey’s Analysis of the Effect of GED Obtainment on Inmate Recidivism
   • Domestic Violence Mandatory Arrest Policies and Actual Arrest Rates: A Comparative
      Analysis

   October 2004 New Brunswick, NJ- Rutgers University
   • Variations in the Recidivism of Treated and Non-Treated Sexual Offenders in New
      Jersey: An Examination of Three Time Frames

   November 17-20, 2004 Nashville, TN- American Society of Criminology
   • Variations in the Recidivism of Treated and Non-Treated Sexual Offenders in New
      Jersey: An Examination of Three Time Frames
   • The Pedophilia Panic in France and the United States

   September 8- 11, 2004 Agen, Dordogne, France- French Society of Criminology
   • A Cross- National Analysis of Moral Panics in the United States and France

   November 18-24, 2003 Denver, CO- American Society of Criminology
   • Recidivism Rates of Sex Offenders up to Seven Years Later: Does Treatment Matter?

   October 8, 2003 St. Louis, MI- Association for the Treatment of Sexual Abusers
   • Collaboration between Academia and the Department of Corrections: Why Bother?

   November 13-16, 2002 Chicago, IL- American Society of Criminology
   • A Ten-Year Longitudinal Analysis of Sex Offender Recidivism.

   September 2002 Woodbridge, NJ- Association for the Treatment of Sexual Abusers
   • A Ten-Year Longitudinal Analysis of Sex Offender Recidivism

   November 4-9, 2001 Atlanta, GA- American Society of Criminology
   • An Examination of New Jersey Civil Commitment Statutes: How Does It Compare to
      Other States?
   • Tracking Offender Residence for Auto Thefts in Newark, New Jersey

   WORKS IN PROGRESS

   Papers submitted for review

   Yan, S., Zgoba, K. & Pizarro, J. “Who’s in Restrictive Housing: The Effect of Inmate Type
   on Post-Release Behavioral Outcomes” Journal of Quantitative Criminology.

   Other completed papers

   N/A



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   Research in Progress

   Zgoba, K. “Painting Restrictive Housing Pink: An Exploratory Review of Female
   Disciplinary Incarceration”.

   Zgoba, K. “A Life Course Analysis of the Criminal Career Patterns of 1,000 Sexual
   Offenders Released Over 40-Years”.

   Zgoba, K. & Salerno, L. “Exploring the Predictors of First Time Offending and Reoffending
   through Inmate Intake Surveys”.

   FUNDED WORK

   Grant Award- Fall, 2021-Spring, 2023
   Arnold Ventures, LLC.
   Role: Consulting Research Partner (Principal Investigators Todd Clear and Robert Apel,
   Rutgers University, awarded 1,000,000.00).
   This grant supports the work being done with the New Jersey Criminal Sentencing and
   Disposition Commission. Particularly, the research team is examining criminal data over two
   decades for sources of racial disparity in New Jersey’s criminal justice system and the impact
   of recent legislative and sentencing changes on subsequent dispositions. As a consultant paid
   hourly, this will not result in a course buyout or student tuition. It will result in collaboration,
   publications and funding to attend conferences.

   Grant Award- 2016
   Bureau of Justice Assistance, Edward Byrne Memorial Justice Assistance Grant (JAG)
   $190,000.00 awarded September 2016
   Role: Co- Investigator (Principal Investigator Jennifer Malinowski, New Jersey Department
   of Corrections)
   This grant supplied funding to create a new data mart that would allow for active offender
   monitoring within numerous state law enforcement agencies. In an effort to ensure
   compliance with recent legislative changes in New Jersey a new repository to track real time
   offender information was created and maintained.

   Grant Award- 2015
   $5,000.00
   National Institute of Justice
   Bridging Research and Practice
   Role: Principal Investigator
   This grant supplied funding to lecture on two previous National Institute of Justice grant
   studies. Three lectures took place between March and April 2015 in England and Northern
   Ireland on how the findings of the studies pertain to those functioning in practitioner roles.

   Grant Award 2015 Cohort
   Fulbright Police Research and Criminal Justice Scholar Award




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   Fulbright Commission, US, UK
   Role: Principal Investigator
   A Multi-Phase Outcome Evaluation of Sarah’s Law in the United Kingdom
   This project determined if 1) the implementation of Sarah’s Law (Child Sex Offender
   Disclosure Scheme) and the Violent and Sex Offender Register in designated areas of the UK
   decreased the rate of sexual crimes; 2) matched samples of sex offenders released post law
   implementation had lower rates of sexual recidivism and; 3) if the community, law
   enforcement and stakeholder express increased “self-protective” measures for their families,
   increased community safety, and validate the need for sex offender disclosure laws.

   Grant Award- 2010 FRS #638479
   $100,000.00 awarded September 2010
   The John A. Hartford Foundation
   Role: Consultant (Principal Investigator Tina Maschi, Fordham University)
   Exploring the Relationship between Trauma, Coping Resources and Physical and Mental
   Well-being among Older Adults in Prison- The specific aims of this study were to describe
   the types and frequencies of reported lifetime traumatic experiences of an older sample of
   prison inmates. This study also sought to examine the relationships of coping resources to
   trauma, stressors and well-being and to explore a possible moderating or mediating effect.

   Grant Award- 2009- IJ- CX-0203
   $76, 502.00 awarded September 24, 2009-March 31, 2012
   National Institute of Justice
   Role: Consultant (Principal Investigator Wesley Jennings, University of South Florida)
   Sex Offenders: Recidivism and Collateral Consequences- This study identified the recidivism
   trajectories of a sample of sex offenders and non-sex offenders post-release from the New
   Jersey Department of Corrections. Both samples of offenders had been released from the
   custody of the NJDOC and will be/ were under the supervision of the New Jersey State
   Parole Board. Special attention was devoted to identifying if and how the likelihood and
   frequency of recidivating is affected by the collateral consequences that many offenders face
   upon their release back into the community.

   Grant Award- 2008- MU-MU-0001
   $507,073.00 awarded July 31, 2008-December 31, 2012
   National Institute of Justice
   Role: Principal Investigator
   A Multi-State Recidivism Study Using Static 99 Risk Scores and Tier Guidelines for the Adam
   Walsh Act- This study tested the predictive validity of both the Adam Walsh tier designations
   and the Static 99 and 2002. This was the first study of its kind to determine the effectiveness
   of the mandatory federal law. In addition to the research responsibilities, under this grant the
   PI was responsible for overseeing the sub-grants of 5 state universities and one state agency.

   Grant Award- 2007-IJ-CX-0037
   $296,656.00
   National Institute of Justice
   Role: Consultant (Co- Principal Investigators Cynthia Mercado and Elizabeth Jeglic, John




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   Jay College of Criminal Justice)
   Sex Offender Management, Treatment and Civil Commitment: An Evidence Based Analysis
   Aimed at Reducing Sexual Violence- This study used a sample of NJ sex offenders who were
   treated and a sample of civilly committed sex offenders to ascertain recidivism risk and re-
   offending patterns.

   Grant Award- 2006-IJ-CX-0018.
   $38,252.00 awarded September 1, 2006- December 31, 2008
   National Institute of Justice
   Role: Principal Investigator
   Megan’s Law: An Empirical Analysis- This study was the first of its kind awarded by the
   Department of Justice to test the effectiveness of the federal version of Megan’s Law. It 1)
   established prevalence rates of sexual offenses prior and post Megan’s Law, 2) statistically
   compared recidivism of sex offenders subjected to Megan’s Law and those who are not and
   3) completed a cost effectiveness analysis of the federal law.

   Grant Proposals Pending

   Grant Year Award 2022- Bureau of Prisons, Solicitation Number 15BNAS21Q00000040.
   Role: Principal Investigator (with Co-PI Stephen Gies, Development Services Group).
   Requested Subcontract Amount- $405,000.00 (Full Amount $1,405,000.00).

   Grant Year Award 2022- Philip Morris International, PMI 3rd Round of Funding. Role:
   Principal Investigator (with Co-PI Maureen Kenny, Florida International University).
   Requested Amount- $650,000.00.

   Grant Proposals Submitted but not Funded

   FEDERAL APPLICATIONS

   Grant Year Award 2021- Community Oriented Policing Services- COPS. Role: Co- Principal
   Investigator (with PI Laura Salerno, New Jersey Department of Corrections). Law
   Enforcement Mental Health and Wellness Act. Requested Amount- $140,000.00.

   Grant Year Award 2020- Bureau of Justice Assistance’s Comprehensive Opioid, Stimulant,
   and Substance Abuse Program. Role: Principal Investigator. Addressing Substance Use
   Disorders in America’s Jails: Clinical Guidelines for Withdrawal Management. Requested
   Amount: $298,000.00

   Grant Award Year 2020- National Institute of Justice, NIJ-2020-17327. Role: Principal
   Investigator (with PIs: Ojmarrh Mitchell and Jesenia Pizarro-Terrill, Arizona State
   University). An Assessment of the Community- and Individual-Level Effects of Plea
   Bargaining in Firearms Offenses on Crime. Requested Subcontract Amount- $123,000.00

   Grant Award Year 2020- National Institute of Justice, NIJ-2020-17296. Role: Co-Principal
   Investigator (PI: Laura Salerno, NJDOC). Correctional Officer Wellness: Implementation




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   and Evaluation of Stress Reduction and Suicide Prevention Interventions Utilizing a
   Randomized Sample. Requested Subcontract Amount- $103,000.00

   Grant Award Number 2019-15365- National Institute of Justice. Role: Co-Principal
   Investigator (PI: Stephen Gies, Development Services Group). A Space to Feel Safe: A
   Multisite Evaluation of GPS to Monitor Intimate Partner Violence Defendants. Requested
   Subcontract Amount- $145,000.00

   Grant Award Number 2018- 14001- National Institute of Justice. Role: Principal Investigator
   (with PIs: Rob Guerette, FIU & Wesley Jennings, Texas State University). The Impact of
   Police Officer Body Worn Cameras on the Prosecution of Violence Against Women: A
   National Survey of Prosecutor Sentiment and a Multi-State Review of Case Outcomes.
   Requested Amount- $688,000.00

   Grant Award Number 2018- 14023- National Institute of Justice. Role: Principal
   Investigator. An Examination of Federal Recommendations on Inmate Disciplinary
   Segregation: A Review of Quality of Life and In-Prison Behavioral Outcomes. Requested
   Amount- $186,097.00

   Grant Award Number 2018-13702- National Institute of Justice. Role: Co- Investigator (PI:
   Stephen Gies, Development Services Group). Space to Feel Safe: A Multi-Site Evaluation of
   GPS to Monitor IPV Defendants. Requested Subcontract Amount- $168,701.00

   Grant Award Number 2018-13702- National Institute of Justice. Role: Principal Investigator
   (with PIs: Rob Guerette, FIU & Wesley Jennings, Texas State University). The Impact of
   Police Officer Body Worn Cameras on Incidents of Violence Against Women: A Multi-State,
   Multi-Site Panel of Field Experiments. Requested Subcontract Amount- $200,380.00

   PRIVATE APPLICATIONS

   Grant Year Award 2021- John D. and Catherine T. MacArthur Foundation’s Safety and
   Justice Challenge. Role: Principal Investigator (with PI: Besiki Kutateladze). Exploring
   Prosecutorial Discretion in the Plea-Bargaining Process. Requested Amount- $250,000.00

   Grant Award Year 2020- National Collaborative on Gun Violence Research. Role: Co-
   Principal Investigator (PI: Jesenia Pizarro-Terrill). In Their Own Words: An Examination of
   the Pathways, Drives, and Motives of Firearm Use Among Violent Offenders. Proposal
   Invited. Requested Subcontract Amount- $123,000.00

   Grant Award Year 2019- Arnold Ventures. Role: Co-Principal Investigator (PI: Stephen
   Gies, Development Services Group). A Multisite Evaluation of Pretrial Electronic
   Monitoring for Intimate Partner Violence Defendants. Requested Subcontract Amount-
   $145,000.00




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   FIU APPLICATIONS

   Grant Award Year 2020- Florida International University Grantsmanship Program. Role:
   Principal Investigator. Using Real-Time Data to Detect Suicide Risk in Local Jails: The
   Creation of an Active Suicide Risk Monitoring System (SRMS). Requested Amount-
   $25,000.00

   Grant Award Year 2021- Florida International University- The Research Center in Minority
   Institutions. Role: Principal Investigator. Using Real-Time Data to Detect Suicide Risk in At
   Risk Populations in Prison. Requested Amount- $50,000.00

   PROFESSIONAL HONORS, PRIZES, FELLOWSHIPS

   2020       Outstanding Article of Year               American Journal of Criminal Justice

   2018       Part Time Lecturer Award                  Rutgers University- New Brunswick

   2015       Bridging Research & Policy Award          National Institute of Justice

   2014       Research Scholar Award                    Fulbright Commission

   2013       Peter P. Lejins Award for                 American Correctional Association
              Excellence in Correctional Research

   00-04      Graduate Assistantship                    Rutgers University-Newark

   2000       Graduate Scholar                          Rutgers University-Newark
              Excellence Award

   1997       Dean’s Scholar Award                      Rutgers University-New Brunswick

   1997       Psi Chi National Honor Society            Rutgers University-New Brunswick

   96-98      Dean’s List                               Rutgers University-New Brunswick


   INSTITUTIONAL SERVICE

   Department

   2021                  PhD. Student Evaluation Committee. Department                  Member
                         of Criminology and Criminal Justice,
                         Florida International University.

   2020                  Instructor Hiring Committee. Department of                     Member
                         Criminology & Criminal Justice,




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                         Florida International University.

   2020                  PhD. Student Evaluation Committee. Department            Member
                         of Criminology and Criminal Justice,
                         Florida International University.

   2018                  Faculty Search Committee. Department of Criminal         Member
                         Justice, University of Central Florida.

   2018                  Masters Curriculum Committee. Department of              Member
                         Criminal Justice, University of Central Florida.

   University

   2020-present          Institutional Research Board.                            Chair
                         Florida International University.

   2019-2020             Institutional Research Board.                            Member
                         Florida International University.

   OFFICES HELD IN PROFESSIONAL SOCIETIES

   N/A

   OTHER PROFESSIONAL ACTIVITIES AND PUBLIC SERVICE AT FIU

   2021           Tenure and Promotion Workshop

   2021           CITI Institutional Research Board Chair Training

   2020           Safety and Justice Challenge Consortium Membership with Dr. Kutateladze

   2020           National Institute of Health Grant Writing Workshop

   2020           Cybersecurity Training

   2020           Tenure and Promotion Workshop

   2020           Provost Hybrid Program Certification Training

   2020           The FIU Remote Teach Ready Badge

   2020           Research Center in Minority Institutions (RCMI) Pilot Proposal Workshop

   2020           FERPA Basics Training




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   2020          Panthers Protecting Panthers: COVID-19 Safety Certificate

   2020          At-Risk for University & College Faculty Certification

   2019          National Science Foundation Grant Writing Workshop

   2019          Inclusion, Diversity, Equity, & Access (IDEA) Training

   2019          Strategies and Tactics for Recruitment to Increase Diversity and Excellence
                 (STRIDE) Training

   2019          CITI Institutional Research Board Member Training

   OTHER PROFESSIONAL ACTIVITIES AND PUBLIC SERVICE OUTSIDE FIU

   2020-present Editorial Board Member, Journal of Experimental Criminology

   2016-present Editorial Board Member, Policing: An International Journal

   2020-present Editorial Board Member, American Journal of Criminal Justice

   2018-present Edna Mahan Correctional Facility for Women- NJ Department of Corrections
                Board of Trustees

   2016-2018     Aresty Research Faculty Review Board, Rutgers University, New Brunswick

   2016-2018     Aresty Research Mentor, Rutgers University, New Brunswick

   2016          Criminal Justice Alumni and Career Mentoring Participant, Rutgers
                 University, New Brunswick

   2016          Outside Reader for Dissertation Committee of Laura Ragusa, Rutgers
                 University, Newark

   2016-present Council Member, Sexual Offense Policy Research Working Group

   2015          Appointed Member of the Strategic Planning Committee “Envisioning
                 Tomorrow’s University”, Rutgers University and University of Medicine &
                 Dentistry, New Jersey

   2015          Council Member, Prison Rape Elimination Act (PREA) Sexual Assault
                 Advisory Council

   2013          Council Member, New Jersey Governor Christie’s Information Technology
                 Strategic Planning Committee

   2013-present Research Council Board Member, American Correctional Association



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   2011           Federal Grant Reviewer, Office of Juvenile Justice and Delinquency
                  Prevention (OJJDP)

   2010           Council Member, New Jersey Governor Jon Corzine’s Advisory Council
                  Against Sexual Violence

   2009           Council Member, New Jersey Governor Jon Corzine’s Crime Plan- Another
                  Chance Initiative

   2009           Board of Directors for the Megan’s Law Analysis, Violence Institute at the
                  University of Medicine and Dentistry, New Jersey

   2008           Invited Participant to the Prison Administrator’s Workshop on the National
                  Inmate Survey, Bureau of Justice Statistics (BJS)

   2008           Committee Member, New Jersey State Bar Association’s Subcommittee on
                  Megan’s Law

   Reviewed journal articles for the following peer reviewed journals:

   American Journal of Criminal Justice
   Journal of Research on Crime and Delinquency
   Journal of Psychiatry and Law
   Security Journal
   Criminal Justice Policy Review
   Crime & Delinquency
   Criminology & Public Policy
   Criminal Justice and Behavior: An International Journal
   Homicide Studies
   Victims & Offenders
   Justice Quarterly
   Sexual Abuse: A Journal of Research & Treatment
   Journal of Experimental Criminology
   Journal of Crime & Justice
   Criminal Justice Studies

   Membership in Academic and Professional Organizations:

   2001-present          American Society of Criminology

   2016-present          Sexual Offense Policy Research Board (A Founding Member)

   2013-present          American Corrections Association Research Council (Lifetime
                         Member due to 2013 Peter P. Lejin’s Award)




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   2013-2015            Academy of Criminal Justice Sciences

   2006-2012            Association for the Treatment of Sexual Abusers

   Graduate Students Advised (As Dissertation/Thesis Committee Member)

   Doctoral Students

   2021- present. Raymond Douglas Partin (Department of Criminology & Criminal Justice,
   Florida International University). Serving as a dissertation committee member.

   2021- present. Sashane McDonald (Department of Criminology & Criminal Justice, Florida
   International University). Serving as chair of dissertation committee.

   2021- present. Wendy Dressler (Department of Criminology & Criminal Justice, Florida
   International University). Serving as dissertation committee member.

   2021. Raymond Douglas Partin (Department of Criminology & Criminal Justice, Florida
   International University). Served as comprehensive exam committee member.

   2021-present. Chase Montagnet (School of Criminal Justice, Rutgers University). Serving as
   external dissertation committee member (outside reader).

   2020- present. Christopher Keller (Department of Criminology & Criminal Justice, Florida
   International University). Serving as comprehensive exam committee member.

   2018-2019. Devin Cowan (Department of Criminal Justice, University of Central Florida).
   Served as research mentor and co-author on publications.

   Authored several letters of recommendation for students who applied for admission to law
   schools and various graduate programs.

   MEDIA INTERVIEWS

   The Star Ledger- Newark, New Jersey- 2006, 2007, 2008, 2009, 2010, 2011
   The Philadelphia Inquirer- Philadelphia, Pennsylvania- 2007, 2008, 2010, 2011, 2012, 2013,
   2015
   The Associated Press, 2008, 2009, 2010
   New Jersey Network, Trenton, New Jersey 2009
   The Washington Post, 2009
   The Economist, 2009
   The Boston Globe- Boston, Massachusetts, 2008, 2009, 2010, 2011
   The Cape May Herald- Cape May, New Jersey, 2008
   The Human Rights Watch, 2008
   CNN, Atlanta, 2011
   USA Today, 2011




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   Correctionsone.com, 2014, 2015
   Crime Report, 2015
   Al Jazeera America, 2015

   EXPERT REPORTS/TESTIMONY IN LEGAL CASES

   1. 2013 - Jeffrey Sylvia vs Nordic Fisheries—hired by attorney Seth Greenblott, from Hol-
       brook Murphy, Massachusetts. Submitted expert opinion, no testimony required. Case
       number can be supplied if needed.
   2. 2014 - Hired by attorney Jeanne Baker, Miami, Florida, to analyze sex offender recid-
       ivism in Florida for a sexual registry case. I did not have to testify for this case; the article
       that came from my official opinion to her is cited above. See Levenson, J. S. & Zgoba,
       K. (2015). “The Impact of Community Protection Policies on Sexual Reoffense Rates in
       Florida”. International Journal of Offender Therapy & Comparative Criminology, 60
       (10), 1140-1158. Case number can be supplied if needed.
   3. 2014 - Ramon Matos v The State of Maryland, In the Circuit Court for the County of
       Montgomery, Case No. 380688V. Expert opinion and testimony provided.
   4. 2016 - Hired by the New Jersey Office of the Public Defender, Fletcher Duddy. Expert
       opinion and testimony provided. Case number can be supplied if needed.
   5. 2017 - Her Majesty the Queen v Eugen Ndhlovu. Hired by attorney Elvis Iginla, Edmon-
       ton Canada. Docket# 110548831Q101. Expert opinion and testimony provided.
   6. 2018 - Hired by Elizabeth Malloy at Buchanan Ingersoll & Rooney, Philadelphia, PA, for
       the Southeastern Philadelphia Transit Authority (SEPTA). Employment litigation regard-
       ing criminal background checks and sexual offenses. Expert witness report provided; no
       testimony required. Case number can be supplied if needed.
   7. 2019 - Hired by the New Jersey Office of the Public Defender, Fletcher Duddy. Expert
       opinion and testimony provided. Case number to be supplied if needed.
   8. 2021 - State of New Jersey v Moriba Herron. Hired by attorney James Maynard, Morris-
       town, New Jersey. Expert opinion and testimony provided. Case number can be supplied
       if needed.
   9. 2021 - State of New Jersey v J. Russell. Hired by attorney James Maynard, Morristown,
       New Jersey. Expert opinion and testimony provided. Case number can be supplied if
       needed.
   10. 2021 - State of New Jersey v Bruce Davis. Expert opinion and testimony provided (3
       separate dates). Hired by Jesse DeBrosse, New Jersey Office of the Public Defender.
   11. 2021 - Does III v Whitmer, Michigan. Paul Reingold, American Civil Liberties Union.
       Expert opinion provided.
   Upcoming Cases:

   2022 - Hired by Cornell, Farrow, Haelea, LLC for a registration challenge in Missouri
   2022 - Steve Tehovnik, Pittsburgh, Pennsylvania
   2022 - Eric Closs, Strousburg, Pennsylvania


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